Case 1:10-cv-02103-PAB-KLM Document 616 Filed 01/31/18 USDC Colorado Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 10-cv-02103-PAB-KLM

  EQUAL EMPLOYMENT OPPORTUNITY COMMISSION,

         Plaintiff,

  and

  IRAQ ABADE, et al.,

         Plaintiffs-Intervenors,

  and

  MARYAN ABDULLE, et al.,

         Plaintiffs-Intervenors,

  v.

  JBS USA, LLC, d/b/a JBS Swift & Company,

       Defendant.
  _____________________________________________________________________

                              MINUTE ORDER
  _____________________________________________________________________
  ENTERED BY MAGISTRATE JUDGE KRISTEN L. MIX

         This matter is before the Court on Plaintiff EEOC’s Unopposed Motion for Stay
  and Extension [#612] (the “Motion”). The day after filing the Motion [#612], Plaintiff filed
  a Notice of Withdrawal of Motion [#614]. Accordingly,

         IT IS HEREBY ORDERED that the Motion [#612] is DENIED as moot.

         Dated: January 31, 2018




                                              -1-
